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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                PINE BLUFF DIVISION

CHARLES E. HAMNER, ADC #143063                                                       PLAINTIFF

v.                                NO. 5:17CV00079 JLH-BD

DANNY BURLS, et al.                                                               DEFENDANTS

                                             ORDER

       United States Magistrate Judge Beth Deere has recommended that the defendants’ motion

for summary judgment be granted and that Charles E. Hamner’s claims be dismissed without

prejudice because he failed to exhaust his administrative remedies as to the claims asserted in his

complaint. Hamner filed a motion for leave to amend, stating that because the complaint would

be dismissed without prejudice he should be allowed one opportunity to attempt to amend his

complaint.   The defendants respond that an amendment cannot cure the failure to exhaust

administrative remedies. Perhaps not. But since the recommendation is to dismiss the complaint

without prejudice, Hamner should be given one opportunity to amend the complaint. The motion

for leave to amend is GRANTED. Document #33. Hamner may file an amended complaint within

30 days from the entry of this Order. If he fails to do so, this action will be dismissed. The Court

therefore declines to adopt the recommendation that Hamner’s claims be dismissed at this time.

Document #32. The motion for summary judgment is denied. Document #26.

       The Court again designates United States Magistrate Judge Beth Deere to hear and

determine all pretrial matters, or to make a recommended disposition, as appropriate.

       IT IS SO ORDERED this 31st day of January, 2018.



                                                     _________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
